                                         Case 3:16-cv-07213-WHA Document 176 Filed 01/03/18 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    MAQUET CARDIOVASCULAR LLC,                         Case No.16-cv-07213-WHA (JSC)
                                                       Plaintiff,
                                   8
                                                                                           ORDER DIRECTING PARTIES TO
                                                v.                                         ATTEND FURTHER SETTLEMENT
                                   9
                                                                                           CONFERENCE
                                  10    SAPHENA MEDICAL, INC., et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          This action settled after a day-long settlement conference on October 3, 2017. As of the

                                  14   date of this Order the parties have still not filed a stipulation of dismissal. On December 26, 2017,

                                  15   the district court issued an Order to Show Cause regarding the parties’ failure to do so.

                                  16          Accordingly, the parties are ordered to appear in person on Friday, January 5, 2018 at

                                  17   11:00 a.m. in Courtroom F at 450 Golden Gate Avenue, San Francisco for a further settlement

                                  18   conference. Lead trial counsel along with the client representative who will be signing the

                                  19   settlement agreement shall attend the conference. The Court will vacate the conference upon the

                                  20   parties’ joint representation that the Agreement has been signed.

                                  21          IT IS SO ORDERED.

                                  22   Dated: January 3, 2018

                                  23
                                                                                                    JACQUELINE SCOTT CORLEY
                                  24                                                                United States Magistrate Judge
                                  25

                                  26
                                  27

                                  28
